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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN AND JOAN

RANDAZZO
V. Civil Action: 20-4110
CARRIER CORPORATION AND
PEIRCE-PHELPS JURY TRIAL DEMANDED
ORDER
AND NOW, this ___ day of , 2021, upon consideration of Defendant

Carrier's Fed. R. Civ. P. 12(b) Motion to Dismiss and Plaintiffs’ Opposition thereto, it is
hereby ORDERED that Defendant's Motion is DENIED and it is further ORDERED that

counsel shall pay Plaintiffs’ costs to oppose this motion.

BY THE COURT:

 
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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN AND JOAN
RANDAZZO

V. Civil Action: 20-4110

CARRIER CORPORATION AND
PEIRCE-PHELPS JURY TRIAL DEMANDED

PLAINTIFFS’ BRIEF IN OPPOSITION TO CARRIER CORPORATION’S
FED. R. CIV. P. 12(B) MOTION TO DISMISS
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Plaintiffs DAVID HATCHIGIAN and JOAN RANDAZZO hereby respond
to Defendant CARRIER CORPORATION’s MOTION TO DISMISS PURSUANT
TO FED. R. CIV. P. 12(b) based on lack of subject matter jurisdiction, statute of
limitations, and untimeliness for the reasons set forth more fully in the attached

Memorandum of Law.
WHEREFORE, Plaintiff respectfully requests that this Court deny

Defendant’s Motion to Dismiss.
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Dated: January 27,2021 | RESPECTFULLY SUBMITTED,
David Hatchigian

DAVID HATCHIGIAN
PLAINTIFF PRO SE

 
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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN AND JOAN
RANDAZZO

V. Civil Action: 20-4110

CARRIER CORPORATION AND
PEIRCE-PHELPS JURY TRIAL DEMANDED

MEMORANDUM OF LAW OF PLAINTIFFS DAVID HATCHIGIAN AND
JOAN RANDAZZO IN OPPOSITION TO DEFENDANT CARRIER
CORPORATION’S MOTION TO DISMISS

I. Statement of Facts

This case was initially filed in in the Philadelphia County Court of Common
Pleas. David Hatchigian filed a Writ of Summons on July 1, 2015 and a Complaint
against Defendant Carrier Corporation and Defendant Pierce-Phelps on September
20, 2015. Plaintiffs filed their Original Complaint in this action on Aug. 17, 2020
(Doc 1). They filed their Amended Complaint on Dec. 18, 2020 (Doc 15). There
was no dismissal or any final order entered terminating any aspect of the state

court case prior to the commencement of the present action.

II. Legal Arguments

A. LACK OF SUBJECT MATTER JURISDICTION(Motion to Dismiss
under Fed.R.C.P. 12(b)(1)).

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a) DEFENDANT’S MOTION TO DISMISS THE FAC
REPEATS THE SAME JURISDICTIONAL ARGUMENT
FROM ITS MOTION TO DISMISS THE ORIGINAL
COMPLAINT, AND IS DUE TO BE DENIED ON THE
SAME BASIS.

I. The value of Plaintiffs’ claims exceeds $75,000 based upon i) treble
damages under the count pursuant to the federal Magnuson-Moss Warranty Act
count of the Amended Complaint, ii) the damages foregone under the parties’
unpaid $3,000.00 settlement which failed (Doc 15, ff 22-28), and the pro se
equivalent of legal fees expended by Hatchigian in the state court.

2. In addition, the claims are between citizens of different states and
citizens of a foreign state who are not residents of a state of the United States (Id.,
at 910) As further pled by Plaintiffs, Defendant Carrier Corporation is a Delaware
corporation (Doc 15). Contrary to Carrier's Motion, its principal place of business
was located at 6304 Thompson Road, Syracuse, New York 13221, U.SA until
1990. However, in 1990, its main office or "nerve center" was moved to One
Carrier Place Farmington, Connecticut 06032.

3. Furthermore, Defendant Peirce-Phelps is a Delaware corporation with

a location at 360 Water St, Wilmington, DE 19804 as well as located within the

state Pennsylvania. Peirce-Phelps had been acquired by Watsco, a Florida entity

 

‘As noted in the earlier filed Motion to Dismiss the Original Complaint, the entity
called Carrier Global Corporation is based in Palm Beach Gardens, Florida, and is
not a party in the instant action.
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headquartered at 2665 South Bayshore Drive, Suite 901 Coconut Grove, Florida
33133 U.S.A. The mere fact that Defendant Peirce-Phelps is headquartered in
Pennsylvania will not preclude complete diversity. See Ricketti v. Barry, 775 F.3d
611 (3rd Cir. 2015) (where the Third Circuit found complete diversity of
citizenship among the parties, Ricketti being a citizen of New Jersey, Barry of
Pennsylvania, and RestorixHealth of Nevada (state of incorporation) and New
York (principal place of business) Therefore, because complete diversity is present
based on a facial reading of the Amended Complaint, the Motion to Dismiss based
on Lack of Subject Matter Jurisdiction should now be denied, and this action

scheduled for a trial on the merits.

b) THE ROOKER-FELDMAN DOCTRINE DOES NOT BAR
THIS ACTION.

4. Under the Rooker-Feldman doctrine’ Federal district courts are barred
from exercising jurisdiction "over suits that are essentially appeals from state-court
judgments." See Great W. Mining & Mineral Co., 615 F.3d at 165. The doctrine is
narrow in scope. Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,
284 (2005). For it to apply, four requirements must be met: "(1) the federal
plaintiff lost in state court; (2) the plaintiff 'complain[s] of injuries caused by [the]

state-court judgments’; (3) those judgments were rendered before the federal suit

 

2 See Rooker v. Fidelity Trust Company, 263 U.S. 413 (1923) and District of
Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983).

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was filed; and (4) the plaintiff is inviting the district court to review and reject the
state judgments." Great W. Mining & Mineral Co., 615 F.3d at 166 (quoting Exxon
Mobil Corp., 544 U.S. at 284) See Mason v. O'Toole (W.D. Pa. 2020)

2. Contrary to the Motion’s analysis under Rooker-Feldman, the
settlement process broke down only after the settlement court’s acknowledgement
that Carrier’s release provision was unconscionably broad and unenforceable as
initially proposed (Doc 15, §§27, 30, 34) Once the Rule 229.1 sanctions and
Plaintiff's Motion for Invalidation based on the failure to provide an executable
release agreement were denied, the parties negotiated no new settlement terms, and
there was no new settlement proposed by either side.

6. The state court’s final disposition consisted of the denial of relief
under the relevant subsections of Rule 229.1 - not discontinuance or dismissal. The
underlying action was due to be restored to the Jury Trial calendar, but due to the
defendant's refusal to provide a conforming settlement release, the settlement court
failed to either grant the Motion to Invalidate Settlement or reinstate the action.
There was no order of dismissal entered in the state court upon the final disposition
as to sanctions, no trial on the merits, and no order entered prior to the filing of
Doc 1 in federal court that was remotely predicated on the merits of any of
Plaintiff's state court claims. Neither Judge Cohen's April 18, 2017 (with Opinion

dated July 5, 2017) or the Superior Court's denial of Hatchigian's Petition for
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Allowance were predicated on the merits. See Dixon v. Township of Lower
Southampton, Civil Action No. 06-5223, 2007 WL 2345277, at **1, 5 (E.D. Pa.
Aug. 16, 2007) (holding that the Rooker-Feldman doctrine did not apply because
the plaintiff appealed his constitutional challenge to a local zoning enforcement
action to the Commonwealth Court and Commonwealth Court did not predicate its
decision on the merits.) Therefore, under the first prong of the two (2)-prong
Rooker-Feldman test, Plaintiff's state court claims were not litigated to any extent
much less resolved, and were at no point "actually litigated" by the state court prior
to filing in the federal forum.

va Additionally, the Third Circuit has identified "two situations when a
federal claim is inextricably intertwined' with an issue adjudicated in state court:
'(1) the federal court must determine that the state court judgment was erroneously
entered in order to grant the requested relief; or (2) the federal court must take an
action that would negate the state court's judgment.'"Reisinger v. Luzerne County,
712 F. Supp. 2d 332, 346 (M.D. Pa. 2010) (quoting In re Madera, 586 F.3d 228,
231 (3d Cir. 2009)) Here, Plaintiffs do not seek any judicial act to revisit, modify
or overturn the state court's final judgment regarding the propriety of Rule 229.1
sanctions, a distinct issue of settlement law which Plaintiff Hatchigian timely

appealed to the Superior Court, and none is required to decide the issues in the
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instant action.? Therefore, as the doctrine does not apply to bar Plaintiffs’ claims
in the instant suit, the Motion to Dismiss on this basis should also be denied.
c) FEDERAL QUESTION JURISDICTION IS PRESENT
BASED ON COUNTS IL AND III, WHICH ALLEGE A
DENIAL OF DUE PROCESS OCCURRING AFTER THE
STATE COURT’S DENIAL OF RULE 229.1 SANCTIONS.
8. Counts II and III of the instant action (Doc 15, 4938-62) allege
violations of the state and Federal constitutions that occurred only after the
settlement process had already broken down due to Defendant's refusal to provide
a conforming settlement release. (Doc 15, §§] 22-24, 36) When the Rule 229.1
sanctions were denied, the parties did not negotiate new settlement terms; no new
settlement agreement was drafted; the settlement court neither invalidated the
proposed settlement based on the failure to provide an executable release
agreement nor reinstated the action for a trial on the merits. (Id., {4 23-38, 51-68)
No order addressed the substance or the merits of Plaintiffs state court claims
prior to the filing of Doc 1 in Federal court.

9. Furthermore, unlike cases where section 5535 is applied, no order of

dismissal was entered by the state court when deciding the sanctions issue. (See

§5535(a)(1))

 

3 Plaintiffs Petition for Allowance of Appeal was denied on Dec. 4, 2018.

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10. Therefore, Federal question jurisdiction is present based on the due
process violation separately pled. (Doc 15, §{[38-62)

B. DEFENDANT’S MOTION BASED ON EXPIRATION OF THE
STATUTE OF LIMITATIONS IS ALSO DUE TO BE DENIED.
(Motion to Dismiss Under Fed.R.C.P. 12(b)(6))

11. After negotiating the proposed settlement of the 2015 claims against
Carrier, Carrier’s counsel offered to pay the agreed upon $3,000 in settlement
funds if Hatchigian delayed filing his Federal court Complaint. See tolling
agreement in Kaiser Martin Grp., Inc. v. Haas Door Co. (E.D. Pa. 2019).
However, dismissal is improper even in the absence of waiver because the instant
action is a “continuation” of the State Court action for purposes of the statute of
limitations.

12. Whereas the motion relies on the rule that “that the commencement of
an action in a Pennsylvania court does not toll the statute of limitations applicable
to a subsequent action commenced in federal court.”, the facts here are
distinguishable from the facts in Falsetti v. United Mine Workers of America,
355F.2d658,662(3dCir.1966), the court rejected appellant’s contention that his
prior, unsuccessful, state court action served to toll the limitations period for his

subsequently filed federal action. See also Royal Globe Ins. Co.v. Hauck Mfg. Co.,

335A.2d460, 462(Pa. Super.Ct . 1975)(“An action in state court does not toll the

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running of the statute of limitations against subsequent action in federal
court.”(citing Falsetti, 355F .2d at 662))

13. Also, there is state and federal precedent for tolling under the
circumstances: For example, in Holmes v. Strawbridge & Clothier, No. 94-1999,
1994 U.S. Dist. LEXIS 16394 (E.D. Pa. Nov. 16,1994), the plaintiff had filed
various state law claims in Pennsylvania state court. While those claims were still
pending, the plaintiff brought a separate action in federal court that asserted the
same claims that were pending in state court, along with a related federal claim. Id.
The court ruled that the state law claims in the federal action were not barred by
the statute of limitations, and that plaintiff was entitled to tolling because the
earlier state sition as filed within the limitations period. The Holmes court
distinguished the Falsetti line of cases on two grounds.

14. First, the court noted that “[those] cases are inapplicable to the instant
matter because this plaintiff’s action has not been dismissed by the state court.” Id.
at *3. Second, the court observed that in Falsetti, the state law claims had been
“fully adjudicated by the state court prior to the plaintiff's re-filing of identical
state law claims in federal court. Therefore, had the district court in Falsetti
exercised pendent jurisdiction over the state law claims in that case, it would have
provided a forum for the state law claims where none existed.” Id. (citation

omitted). The Holmes court reasoned that in the case before it, because the state

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action was still pending, the exercise of federal jurisdiction over the state claims
would not create a forum where none existed. Here, in contrast, the procedural
history and lack of a final order ending the state court litigation at the time the
settlement-related motions were denied invoke a scenario akin to Holmes, and
displace the Falsetti rule particularly given the lack of a final order terminating the
action when deciding the Rule 229.1 sanctions. 4

15. Moreover, there is no question that arise as to “conditional dismissal”
as in Brennan v. Kulick, 407 F.3d 603 (3d Cir. 2005), i.e., because there was no
dismissal to start with, and it is undisputed that if Defendant had successfully
removed the state court case to federal court, the claims would not be barred by the
statute of limitations. See, e.g., Heater v. Kidspeace, No. 05-4545, 2005 WL
2456008, at *2 (E.D. Pa. Oct. 5, 2005).

16. Rather, the proceedings in the state court action provide a record basis
for inferring the sufficiency of notice of the substance of Plaintiff's claims, and that
permitting the federal suit to proceed would not result in any harm or prejudice to

defendant, nor does it entitle defendant to a defense under the statute of limitations.

 

‘ While it is correct to say that § 5535(a)(1) provides that if a party timely
commences an action that is later terminated, that party may commence a new
lawsuit on the same cause of action within one year of the termination. (42 Pa.
Cons. Stat. § 5535), this subsection of section 5535 should not apply where, as
here, the state action was not dismissed contemporaneous with the final disposition
as to Rule 229.1 sanctions.

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d) RES JUDICATA DID NOT ATTACH IN THE STATE
COURT LAWSUIT.

"The general rule regarding simultaneous litigation of similar issues in both
state and federal courts is that both actions may proceed until one has come to
judgment, at which point that judgment may create a res judicata or collateral
estoppel effect on the other action." CSX Transp. Inc. v. Apex Directional Drilling,
LLC, No. CV 14-290E, 2015 WL 8784148, at *2 (W.D. Pa. Dec. 15, 2015)
(quoting Ryan v. Johnson, 115 F.3d 193, 195 (3d Cir. 1997), cited by Pa. Coach
Lines, Inc. v. Student Transp. of Am., LLC (W.D. Pa. 2020) Under Pennsylvania
law, collateral estoppel applies if: (1) the issue decided in the prior case is identical
to one presented in the later case; (2) there was a final judgment on the merits; (3)
the party against whom the plea is asserted was a party or in privity with a party in
the prior case; (4) the party or person privy to the party against whom the doctrine
is asserted had a full and fair opportunity to litigate the issue in the prior
proceeding; and (5) the determination in the prior proceeding was essential to the
judgment. B.S. v. York Cnty. (M.D. Pa. 2020) , citing E.K. v. J.R.A., --- A.3d ----,
2020 WL 4558562, at *8-*9 (Pa. Super. Ct. Aug. 7, 2020) (quoting Vignola, 39
A.3d at 393). Although the Motion to Invalidate Settlement was denied and Rule
229.1 sanctions were never granted, there was no final judgment or order
predicated on consideration of the merits. As argued hereinabove, the state court’s
ruling on Rule 229.1 sanctions on Plaintiff's Motion to Invalidate were not a

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substitute for timely dismissal and/or adjudication of the claims at issue. Finally,
estoppel theory should not bar any of the claims newly asserted by Co-plaintiff
Joan Randazzo.

Therefore, the Motion to Dismiss based on Res Judicata should be denied.
WHEREFORE, Plaintiffs respectfully request that Defendant’s Motion to Dismiss
be denied in its entirety.

Dated this _ day of February __, 2021

Respectfully submitted,
Dawid Hatchigian

DAVID HATCHIGIAN, PLAINTIFF PRO SE

 

joan Randazz.

 

JOAN RANDAZZO, PLAINTIFF PRO SE

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UNITED STATES DISTRICT COURT FOR THE EASTER DISTRICT

DAVID HATCHIGIAN
And JOAN RANDAZZO Civil Action 20-cv-4110
Plaintiffs

Vs.

CARRIER CORPORATION
And PEIRCE-PHELPS, INC JURY TRIAL DEMAND
Defendants

CERTIFICATE OF SERVICE

I hereby certify that on January 27, 2021, a copy of Plaintiffs Response to

Defendants Motion to Dismiss was e-filed with the court and mailed by way of

USPS 3817.

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